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                             UNITED STATES BANKRUPTCY COURT
                              SOUTIIERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DTVTSION
In re:

Kersandra Brooks                                             CaseNo.: 17-13719-RBR
                                                             Chapter 13
         Debtor(s)


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COLINTY         OF €,*.,-.tr.J
                        AFFIDAVIT rN qUPPORT OF MOTION roR RELTEF
                                FROM THE AUTOMATIq STAY


I, Eric Sutherland, declare:

1.   I am over the age of eighteen years of age and am presently employed by Yellowstone Capital,
     LLC   as   its                       (Title). I am making this affidavit regarding the loan described
     below (the "Loan").       I   am making this Affidavit in connection with and in support of the
     Motion to which this Affidavit is attached.
2.   In this position, my responsibilities include ascertaining and verifying amounts due and
     payable as to delinquent borrowers who are in bankruptcy and not in bankruptcy.
J.   The facts stated in this affidavit are based upon records maintained in the ordinary course         of
     Yellowstone Capital, LLC's business,       as part   of regular conducted business activity, by or from
     information transmitted by person(s) with knowledge of the events described therein, at or near
     the time of the event described. These records are 's own records. I have personal knowledge
     of the procedures by which these records were prepared and kept"
4. According          to Yellowstone Capital, LLC's books and records, the Loan is evidenced by            a

     promissory note executed by Kersandra Brooks dated January 9,7AA7 in the principal amount

     of $143,500.00.
5.   The note is secured by a Mortgage (the "Mortgage") relating to the real property commonly
     known as2348NW 15tl'Court, Fort Lauderdale, FL 33311.
6.   The Mortgage was assigned to Yellowstone Capitai, LLC, which is now the owner and holder.




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7.    True and correct copies of the Note, Moftgage, Riders, and Assignments, are attached hereto
      and incorporated herein as "Exhibit   A."
8.    The Debtor has a long history of being in default and had recently defaulted on a forbearance
      agreement with Yellowstone Capitai, LLC.

9.    According to Yellowstone Capital, LLC's books and records, a default exists under the Loan
      for failure to make payments due and owing under the Note and Mortgage beginning with the
      payrnent due on October 1,2014.

10. As of March 28,2A17, the total arrearages are $31,348.72.

11. As of March 28,2A77, the total amount owed under the Note is approximately $154,919.94,

      itemized as follows:

                                                      Amount
    Principal Balance                                 $ 13   i,072.35
    Acc" Interest from   jV|UDAU    -A312812A17       $15,173.87
    Acc. Late Charges                                 $1,123.75
    Unpaid Late Charges                               $n2.sa
    Attomey's fees and costs                          $7,317.47
    Total                                              8L54,919.94


12. According to the Broward County Properfy Appraiser's website, the property is         curently
      valued at $107,510.00, which is less than that is owed to Yellowstone Capital, LLC. Please
      see attached copy   of Apprais al atlachedhereto and incorporated herein as
      "Exhibit 8."
1   3. I declare under penalty ofperjury that the foregoing facts are true and correct based on personal
      knowledge derived from Movant's books and business records, as I have detailed heretofore.

            FURTHER AFFIANT SAYETH }{OT.


                                                         Eric

                                                         Yellowstone Capital, LLC

THE F'OREGOING INSTRUMENT WAS SWORI{ TO ANI} SUBSCRIBED before me
persotratly this lth day of April,ZAlT by Eric Sutherland, NAAl,n&lEo- (Title) and as
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           agent on behalf of Yellowstone Capital, LLC, who produced
                                                          r^ LLtrtlfinn_ R-a.te
                             AS IDENTIFICATION TO ME IN TESTIMONY

year last above written.




                [*r, *i.: -.,m:H:i$#i,n"
(Seal)                                            My Commission Expires:   fuWleeU
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                   -    INDEBTEDNESS WORKSHEET DEBT AS OF THE PETITION DATE


A. Total pre-petition indebtedness of   debtor(slto movant (if movant is not the lender, this refers to the
indebtedness owed to the lenderi as of petition filing date: $154,919.94

         1. Amount     of Principal:                                           Stgt,ozz.es

         2. Deferred Unpaid Principal:                                         5o.oo

         3. Amount of interest:                                                S15,173.87

         4. Accrued Late Charges (Calculated Through Payoff       Date):       51,L23.75

         5. Unpaid Late    Charges:                                            5232.50

         6. Amount of attorneys' fees billed to debtor(s) pre-petition:    .   57,317.47

         7. Amount of pre-petition late fees, if any, billed to   debtor(s):   SO.OO


         8. Any additional pre-petition fees, charges or   amounts             SO.OO
         charged to debtors/debtors account and not listed above




         (lf additional space is needed, Iist the amounts on a separate sheet and attach the
         sheet as an exhibit to this form; please list the exhibit number here:

B. Contractual interest rate:7.450Yo {if interest rate is (or was) adjustable, list the rate(s) and date{s) the
rate{s} waslwere in effect on a separate sheet and attach the sheet as an exhibit to this form; list the
exhibit number   here:_.)
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                               AMOUNT OF ALLEGED POST-PETITION DEFAULT
                                             (AS OF March 28,20L71


 C. Date last payment was received:                os/01./2014

 D. Alleged total.number of payments due            0
 post-petition from filing of petition through
 payment due on:

E.   All post-petition payments alleged to be in default:

 Alleged           Alleged        Amount          Amount            Amount       Amount        Late fee
 Amount            Amount         Received        Applied to        Applied to   Applied to    Charged,   if
 Due Date          Due                            Principal         lnterest     Escrow        anY
 Totals:           so.oo          so.oo           5o.oo             5o.oo        so.oo         50.00

 G. Amount of movant's filing fee for this    motion:       5181.00
 H. Other attorneys'fees billed to debtor post-
 petition:                                                  58so.oo
 l. Amount of movant's post-petition inspection
                                                            so.oo
 fees:
 J. Amount of movant's post-petition appraisal:             so.oo
 K. Amount qf forced placed insurance or
                                                            5o.oo
 insurance provided by the movant post-petition:
 L. Sum held in suspense by rhovant in connection
                                                            $o.oo
 with this contract, if applicable:
 M. Amount of other post-petition advances or
 charges, for example taxes, insurance incurred by          $o.oo
 debtor etc (itemize each charge):
